Fill in this information to identify your case: FiLeL
JACKS ORMILUE

Pb ee Te

 

United States Bankruptcy Court for the:
Middle District of Florida

 

  

Case number uf knowns: Chapter you are filing under: | iUtg JAN [uy ae I: 23
QO) Chapter 7
( Chapter 11 . . cae ge eee ity
Chapter 12 US pee Ue TON GOUBT

 

Chapter 13 ADGLE DISTRICT Ul Check if this is an
OF FLORIDA amended filing

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12:17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debters. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
infarmation. If more space is needed, attach a separate sheet te this form. On tha top of any additional pages, write your name and case number
(if Known}. Answer every question.

| Part 4: | Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. Your full name ou
Write the name that isan your E}izaheth
govermentissued picture - :
identification (for example, First name First name
your driver's license or
passport). Middle name Middle name
Bring your picture Jennings
identification te your meeting —- Last name Last name
with the trustee,
Suffix (Sr., Jr, ll, Ub Suffix (Sr., Jr, Ul, WN)
2. All other names you na
have used in the last 8 Fwsiname : ‘Firstname
years
Include your marriad or Middla name : : Middle name
maiden names. wT
Last name ‘27: Lastname
First name - First name
Middla nama :" Middle name
Last name aa Last name
3. Only the last 4 digits of g a
your Social Security wx x TT lo cE OE
number or federal OR OR
Individual Taxpayer 9 ” 9
Identification number WO XK i
(ITIN) =

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 
Case 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 2 of 60

Debtor 1

Elizabeth B Jennings

 

First Name Middla Nana

Last Name

Case number (if known

 

 

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last & years

include trade names and
doing business as names

EN

EN

@ Ihave not used any business names or EINs.

- Ot have not used any business names or EINs.

 

Business name

 

' Business name

 

 

Business name

=) EN

 

Business name

 

5. Where you live

7134 Electra Drive South

 

 

 

 

Number Street

Jacksonville FL 32210
City State ZIP Code
Duval

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debter 2 lives at a different address:

 

Number Street

 

 

wy

State 2iP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City Stale ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district ta file for
bankrupicy

4 Over the last 180 days before filing this petition,
1 have lived in this district longer than in any
other district.

(] 1 have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have ancther reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

 
Case 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 3 of 60

Debtor 1 Elizabeth B Jennings Case number (ienown'

First Name Middle Name

Last Name

Ee Tall the Court About Your Bankruptcy Gase

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.5.C. § 342(b) for Individuals Filing
for Bankrupicy (Form 2010))}. Also, go to the top of page 1 and check the appropriate box.

QO) Chapter 7

C) Ghapter 11
{] Chapter 12
kA Chapter 13

 

8. How you will pay the fee

LJ 1 will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. /f your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

4 I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).

QO I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

9. Have you filed for
: bankruptcy within the
last & years?

ONo

Wives. vistice Middle District of FL wre, O6/02/2016 Gace number 3: 18-bk-02087-JAF
M7 DDT
pistrice Middle District of FL wre, 10/02/2015
MM? DD /YYYY

3:15-bK-04383-JAF

Case number

 

vistict Middle DistictofFL when 3:15-bk-03837-JAF

 

 

 

 

 

Case number
MM/ DD /YYYY
' 10. Are any bankruptcy 4 No
cases pending or being
filed by a spouse who is UC) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM IDO Pry
partner, or by an
affiliate?
Dabtor Relationship to you
District When Case number, if known.

MM /DD/ ¥YYY

 

41. Do you rent your
residence?

Official Form 101

WINo. Go te line 12.
LJ Yes. Has your landlord obtained an eviction judgment against you?

L) No. Go to line 12,

CJ Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
Case 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 4 of 60

Debtor 1 Elizabeth B Jennings Case number (if known}

First Name Middla Name Last Name

 

| Part 3: | Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you asole proprietor iQ No. Go to Part 4.
of any full- or part-time
business? (J Yes. Name and Iccation of business

A sole proprietorship is a
business you operate as an
individual, and is net a
separate legal entity such as

a corporation, partnership, or :
LLC. P pa P Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Cade

Check the aporopriate box to describe your business:

LJ Health Care Business {as defined in 11 U.S.C. § 101(27A)}
L] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LI Stockbroker (as defined in 11 U.S.C. § 101(53A))

| Commodity Broker (as defined in 11 U.S.C, § 101(6}}

L] None of the above

 

13. Are you filing under ff you are filing under Chapter 17, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadiines, If you indicate that you are a smal! business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of cperations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents co not exist, follow the procedure in 17 U.S.C. § 11416(1)(B).

r?
debto . a Ne. | am not filing under Chapter 11.
For a definition of smat!
business debtor, see LJ No. fam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptey Code.

CL) Yes. Iam filing under Chapter 11 and | am a small business debtor according te the definition in the
Bankruptcy Code,

| Part 4: | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

: 14. Do you own orhave any No
property that poses or is

 

alleged to pose a threat Q Yes. What is the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs lf immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goads, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 

 
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Elizabeth B Jennings

First Name Middia Name

Debtor 1 Case number (if known),

Last Name

 

 

EE Exeiain Your Efforts to Receive a Briefing About Credit Counseling

: 45,

Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive @ briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannct do so, you are not
eligible to file.

If you fila anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

You must check one:

if | received a briefing from an approved credit

counseling agency within the 180 days before |
fited this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ | received a briefing from an approved credit

counseling agency within the 180 days before |

filed this bankruptcy petition, but! do not have a =:

certificate of completion.
Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment aa

plan, if any.

LI | cartify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day tamporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to cbtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case,

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CQ} am net required to receive a briefing about

credit counseling because of:

QQ Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

() Disability. © My physical disability causes me
te be unable to participate in a
briefing in person, by phone, or
through the internet, even after [

reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required ta receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

==) You must check one:

= (J) Freceived a briefing from an approved credit

counseling agency within the 180 days before |
fited this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

L) I received a briefing from an approved credit

counseling agency within the 180 days before!
filed this bankruptcy petition, but | do not have a |
certificate of comptetion.

Within 14 days after you file this bankruptcy petition, —
you MUST file a copy of the certificate and payment :
plan, if any,

LI | certify that | asked for cradit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file 4 certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

ae LJ) 1am not required to receive a briefing about

credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

\) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CL) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the caurt.

 

 
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Debtor 4 Elizabeth B Jennings

First Name Middia Name

Answer These Questions for Reporting Purposes

Last Name

Case number (# krowr)

 

_ 16, What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8}
as “incurred by an individual primarily for a personal, family, or household purpose.”

L) No. Go to line 16b.
A Yes. Go to line 17.

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LJ No. Ge to line 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 77

Do you estimate that after
any exempt property is

id No. 1am not filing under Chapter 7. Go to line 18.

QQ) Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Ol No
administrative expenses
are paid that funds will be C] Yes
available for distribution
to unsecured creditors?
48. How many creditors do = 1-49 (J 1,000-5,000 CO) 25,001-50,000
| you estimate that you C) 50-99 C1 5,001-10,000 C] 50,001-100,000
owe? O 100-199 01 10,001-25,000 C] More than 100,000
() 200-999
: 49, How much do you L) $0-$50,000 2) $1,000,001-$10 million CI $500,000,001-1 billion

estimate your assets to
be worth?

CJ §50,001-$100,000
$100,001-$500,000
LJ $500,001-$1 million

CJ $10,000,001-$50 million
CI $50,000,001-$100 million
L) $100,000,001-$509 million

LY $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
LJ More than $50 billion

 

20. How much do you
i estimate your liabitities
to be?

LJ $0-§50,000

LJ $50,001-$100,000
4 $100,001-$500,000
LY $500,001-$1 million

(J $1,000,001-$10 million

C) $40,000,001-50 million
L) $50,000,001-$100 million
CJ $100,000,001-$500 million

CL) $500,000,001-$1 billion

CT $1,000,000,001-$10 billich
C1 $10,000,000,001-$50 billion
LJ More than $50 billion

 

2 For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, 1 am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

undar Chapter 7.

If no attorney represents me and | did not pay or agree ta pay someone who is not an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C, §§ 152, 1341, 1519, a

EE x

Signature of Mebton 1

 

0

Executed on

M f

 

Executed on

Signature of Debtor 2

MM / DD /Y¥YYY

 

Official Form 101

Voluntary Patition for Individuals Filing for Bankruptcy

page 6

 

 
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Debtor 1 Elizabeth B Jennings Case number (i known)

First Name Middle Narn Last Name

 

 

|, the attomey for the debtor(s} named in this petition, declare that | have informed the debtor(s) about eligibility

_ For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the reliaf

 

: represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
: the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4}(D) applies, certify that | have no
: If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
; by an attorney, you do not
: need to file this page. x
: Daie
Signature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

 

Official Farm 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

 
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Debtor 1 Elizabeth B Jennings Case NUMDEr [if known}
First Nama Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
: bankruptcy without an should understand that many people find it extremely difficult to represent
: attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

_ If you are represented by
' an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

: need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be

: dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, of you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. Ta be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No

J Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CJ No
id Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out your bankruptcy forms?
id No

L] Yes. Name of Person .
Attach Bankruptey Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks invelved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

‘StqrstoreOT Debtor 1 Signature of Debtor 2
Date g 9 Date
Y Le <0 MM? DD YY

 

 

 

 

 

Contact phone Contact phone
Gell phone Cell phone
Email address Email address

 

 

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
Case 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 9 of 60

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
PETITION WORKSHEET

CASE NUMBER...; 19-00087-3F3

DEBTOR........: JENNINGS, ELIZABETH B

JOINT. cc. eee eet

FILED.........: 01/14/2019 CASE T¥PE: I COUNTY: 12031
WHERE........+, : JACKSONVILLE FIRST FLOOR [0]

300 NORTH HOGAN ST. SUITE 1-200
JACKSONVILLE, Fl 32202

TRUSTEE....... : [NEWAY, DOUG]
WHEN..........: MONDAY FEBRUARY 25, 2019 AT 10:30 a.m. [42]

DEBTOR'S ATTY.: PROSE

MATRIX INST. APP. 20 LRG UNSEC. MATRIX (CH 11)
MATRIX ON DISK L/S. soar
PRO SE £ > 20 LRG UNSEC. LIST (CH 11)

DISC, OF COMP.
EXHIBIT "A" (REQUIRED IF DEBTOR IS A CH 11 CORPORATION)
tL SUMMARY OF SCHEDULES
a SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING)
{ DECLARATION UNDER PERJURY
|___-STATEMENT OF FINANCIAL AFFAIRS
CH 7 STATEMENT OF INTENTIONS
fA, CHAPTER 13 PLAN

COMMENTS :

 

 

 

 

CLAIMS BAR DATE: / of / COMPLAINT DATE: / of
Fee information:

Total -> $0,00

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 10 of 60

yA tnis lator hitet meres TLR me cell mer Eto

Debtor 1

 

First Name Middle Nama

Debtor 2
(Spouse, if fling) First Name Middla Name

 

United States Bankruptcy Court for the: District of

Case number LJ Check if this is an
‘if known} amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 1245

Be as complete and accurate as possible. If two married people are filing together, bath are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this farm. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

 

1. Schedule A/B: Property (Official Form 106A/B)

 

Ja, Copy line 55, Total real estate, from Schedule A/B acccccscscesssscsssesnssiensenveesinsneneies irre secencee ce cceecenn ev eeaaanseesssamedctaanennaene $ ___.166,650.00
1b. Copy line 62, Total personal property, fram Schectisle A/B..oecssecccscssssenssessssneeeesiiieeesunsecessnessceesuitesssanneadcenutenessssssnsees § 85,708.03
1c. Copy line 63, Total of all property an Schedule A/B oo... cece cececeeee seer cence cr eeeeeaea esstnsnene cits eeesnnaecocsseesnenecsconeeanantcoceeeeenens $ 252 358.03

 

 

 

| Part 2: | Summarize Your Liabilities

  
 

Amount you ows
2. Schedule D: Greditors Who Have Claims Secured by Property (Cfficial Form 106D}
¢__ 282,623.00

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule O............

3. Schedule E/F: Creditors Wha Have Unsecured Claims (Official Farm 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge Of Schedule E/F wetter tetestetoececeeeeee $_______
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F .... 1. cssecccseceeseneeceene + 3 65,243.77

Your total liabilities $ 347,866.83

 

 

 

Summarize Your income and Expenses

 

4. Schedule i Your income (Official Form 1061) 3.793.10
Copy your combined monthly income fram line 12 of SCHEGUIC fo... cece cceccceeceetseseceeeneeceeeeaeseneecaeseesanneeesaeee seen Uiedebasaanepaeeee $ : -

5. Schedule J: Your Expenses (Official Form 106J}
Copy your monthly expenses from line 22c¢ of Schedule Jo... cece ce cece cece eee nenacceeceneenencces soe emmnenee ce sonennennacieennensceseeiceees

s 2,705.00

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 11 of 60

Dabtor 1 Case number (known)
First Nama Middle Name Last Narne

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

CJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules,
Yes

 

7. What kind of debt do you hava?

M1 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
famiy, or household purpose.” 11 U.S.C. § 101(8). Fill out lines $-9g for statistical punposes. 28 U.S.C. § 159.

C] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your ather schedules.

 

 

8 From the Statement of Your Current Monthly income: Copy your total current monthly Income from Official
Fort 1224-1 Line 114; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 1,293.89

 

 

 

 

g Copy the following special categories of claims from Part 4, line 6 of Schedule EF:

 

 

Ba. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you awe the government. (Copy line 6b.) 5.
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) 5
9d. Student loans. (Copy line 6f.) $ 68,951.00
$e, Obligations arising out of a separation agreement or divorce that you did not report as 5
pricrity daims. (Copy line 8g.)
Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) #5
9g. Total. Add lines 9a through 9f. ; s 58,951.00

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 af 2

 

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 12 of 60

Fill in this information to identify your case and this filing:

Debtort Elizabeth B Jennings

First Name Micdle Name

 

Debtor 2

(Spouse, if filing) First Name Micdle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

 

LJ Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 42/15

In each category, separately jist and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

 

aa Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you ewn or have any legal or equitable interest in any residence, buiiding, and, or similar property?

CI No. Go to Part 2.

FA Yes. Where is the property?
What is the property? Check all that apply.

w Single-family home
QO Duplex or multi-unit building

 

a1, 1134 Electra Drive South

Street address, if available, or other description

 

 

 

 

LI Condominium or cooperative Current value of the Current value of the ‘
L) Manufactured or mobile home entire property? portion you own?
LY Land $ 161,650.00  , 161,650.00
L) investment property

Jax FI 32210 Q) Timeshare Describe the nature of your ownership

City State ZIP Code O) other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simple

 

 

Duval LI Debter 1 only
County L] Debter 2 only
LY Debter 1 and Debtor 2 only UL) Check if this is community property

see instructions
If Atleast one of the debtors and another ( )

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

What is the property? Check all that apply.
) Single-family home

Cy Duplex or multi-unit building

  

12, 0 Mimosa Grove Trail
Street address, if available, or ather description

 

 

 

 

 

 

 

 

UL Condominium or cooperative Current value of the Current value of the |
LJ Manufactured or mobile home entire property? portion you own?
Wf Land $ 5,000.00 5 5,000.00:
CY investment property

Jax FL 32210 O timeshare Describe the nature of your ownership

City State ZIP Code interest (such as fee simple, tenancy by
QO) other the entireties, or a life estate), if knawn.
Who has an interest in the property? Check one.

Duval 1} Debtor 1 only

County LY Debtor 2 only
LJ Debtor 1 and Debtor 2 only L) Check if this is community property
Wf Atleast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number: Vacant lands runs paralell to hi

Official Form 106A/B Schedule A/B: Property page 1

 

 
 

 

, Caring 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 13 of 60
Debtor 4 Elizabeth B Jenning Case number ut mown)

 

What is the property? Check all that apply.
Cy Singie-family home

 

 

 

 

 

 

 

 

 

 

 

 

1.3.
Street addrass, if available, or other description cl] Duplex or multi-unit building a a sec Rel Bs
CJ Condominium or cooperative Current value of the Current value of the ;
() Manufactured or mobile home entire property? Portion you own?
CJ Land $ 3
CL) investment property .
City State ZIP Code (J Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an Interest in the property? Check one.
a 2) Debter 1 only
ounty C) Debtor 2 only
L) Debtor 4 and Debtor 2 only Q) Check if this is community property
LI Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
: 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 5 161,650.00
you have attached for Part 1. Write that number here. ..........120---2-ce-ceeceaceneneranenenaneeenanseeuadaeducececcousearensnenaeensnanes > |

 

 

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered ar nat? Include any vehicles
: you own that somecne else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

/ 3, Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

UO No
Yes
a1. Make: Mercedes Who has an Interest In the property? Check one. © |
Model: ML320 id Debtor 1 only
; 2002 LD Debtor 2 only
Year: panei 2) Debtor 1 and Debtor 2 only Current value of the Current value of the .

: : . 276000 entire property? rtion you own?
Approximate mileage: “°*~*™ C At least one of the debtors and another property? pe ¥

Other information:

 

 

 

 

ce unin j . $ 500.00 5 500.00 |
VIN#4IGAB54E 324302780 C) Check if this is community property (see
Needs a catalytic converter instructions}
if you own or have more than one, describe here:
39. Make: Who has an Interest in the property? Check one.
Model: CD) Debtor 1 only

 

U1 pebter 2 only

 

 

Year: O) debtor 1 and Debtor 2 only Current value of the Current value of the :
; : . entire property? ortion youown?
Approximate mileage: L) at least one of the debtars and another property P ¥
Other information:
LJ Check if this is community property (see $ $

instructions)

 

 

 

Official Form 106A/B Schedule A/B: Property page 2

 

 
Case, 3.19-bk-00087-JAF Doc1 Filed 01/14/19 Page 14 of 60

Debtor 4 Elizabeth B Jenni

Case number (i tron)

 

Firs! Name Middla Nara

Year:
Approximate mileage:

Other information:

Last Name

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

 

Who has an interest in the property? Check one. © 4,

LP Debter 1 anly
L) Debtor 2 only

 

 

OD} Debtor 1 and Dabtor 2 only Current value ofthe Current value of the :

entire property?
CO) atleast one of the debtors and another Property
$

CJ Check if this is community property (see

portion you own?

 

instructions}

Who has an interest in the property? Check one.
UL) Debtor 1 only

 

 

C} Debtor 2 only
UI Debter 1 and Debtor 2 only
©) Atleast one of the debtors and another

O) Check if this is community property (see $
instructions)

4. Watercraft, aircraft, motor homes, ATVs and cther recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Wi No
OD Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
C) Debtor 1 only

CI Debtor 2 only

CI Debtor 1 and Debtor 2 only

entire property?

Current value of the

 

portion you own?

 

Current value of the :
portion you own?

 

CJ Atleast one of the debtors and another entire property?
C) Check if this is community property (see $
instructions}

Who has an interest in the property? Check one.

C] Debtor 1 only
LI Debtor 2 only
C) Debtor 1 and Debtor 2 only entire property?
CL) Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number Were ...........0...02..:.ccc-cecceccceecee cee eece eee ee eects ceeetbte ede dbee deeded cdesee seen eece ne caaia caer taat se

Official Form 106A/B

Schedule A/B: Property

Current value of the

    

    

Current value of the ;
portion you own?

 

5 500.00

 

 

 

page 3

 

 
 

 

; Case. 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 15 of 60
Debtar 1 Elizabeth B ennings Case number tf énawn}
First Narnia Middle Nama Laat Name

BRE vnsesive Your Personal and Household Items

 

 

Examples. Major appliances, furniture, linans, china, kitchenware

L) No sn :
Yes. Describe.........| Household:Living Room, Dining Room and Bedroom Sets § 300.00 |

 

 

 

 

| 7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

 

 

L] No : :
id Yes. Describe... ...se! Electronics:2 Televisions, Laptop, DVD player, iPad, and Cell phone 5 200.00
' 8. Collectibles of value .

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections; other collactions, memorabilia, collectibles
WJ No

Q Yes. Describe........- $

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other habby equipment; bicycles, pool tables, galf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

UL) No
i Yes. Describe........... Sports: Hobby:Golf Clubs anf Tennis Rackets i $ 200.00

 

 

> 10. Firearms
Examples: Pistals, rifles, shotguns, ammunition, and related equipment

id No
C) Yes. Describe.......... g

 

 

 

 

: 11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

oO No :
Yes. Deseribe.......... Clothes: Everyday Clothing $ 25.00 ©

 

 

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

O No
WJ Yes. Desoribe.........

 

50.00 |
Jewerly-Watch fi

 

| 13. Non-farm animals
: Examples: Dogs, cats, birds, horses

id No
LI) Yes. Describe. ......... $

 

 

 

 

14. Any other personat and household items you did not already list, including any health aids you did not list

iJ No
LI Yes. Give specific
information, ........008

 

 

 

 

: 15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 725.00
: for Part 3. Write that mumber Were ooo... cceccccssecsssescsceceeecsne eserves seesesseenueersnnnensseterevesnenieesimeeriterniemanutsarntnsess

 

 

 

Official Form 106A/B Schedule A/B: Property page 4

 

 
Debtor1 Elizabeth Boe a Rings ing

@ 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 16 of 60

 

First Name

Middle Name Last Name

ao Describe Your Financial Assets

Case number (i tawny

 

16.Cash

id No

: 17. Deposits of money

Examples: Money you have in your wallet, in your home, ina safe deposit box, and on hand when you file your petition

Cash: we §

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

L Ne

Institution name:

17.1. Checking account:

 

17.2. Ghacking account:

 

17.3. Savings account:

 

17.4. Savings account:

 

175. Certificates of deposit:

 

17.6, Other financial account: Checking PayPal Merchant Acct ID YX8G

17.7. Other financial account:

0.00

 

17.8. Other financial account:

 

17.9. Other financial account:

A FF 8 46 6 6 96 .¢

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, maney market accounts

Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and Jolnt venture

OQ) No

i Yes. Give specific
information about

them...

Name of entity:
LegalDocsbyLiz LLC

% of ownership:

 

Debtor operates as her business as sole-proprietorship

10,000% 5 0,00
0% %

 

not LLC, but an LLC is registered with state of FL

0 % og

 

Official Form 106A/B

Schedule A/B: Property

page 5

 

 
 

 

. Case 3°19-bk-00087-JAF Doci1 Filed 01/14/19 Page 17 of 60
Bebtor 1 Elizabeth B ennings Case number ¢firown)
First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negatiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotfahie instruments are those you cannot transter to someone by signing or delivering them.

No
Q] Yes. Give specific Issuer name:

information about
them... 5

 

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 No
LI Yes. List each
account separately, Type of account: Institution name:
404(k) or similar plan: §
Pansion plan: $ .
IRA: $ :
Retirement account: $
Keogh: 3
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company :
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications i
companies, or others :
id No
ee Institution name or individual:
Electric: $
Gas: 5
Heating oil: $
Security deposit on rental unit: s
Prapaic rent: $
Telephone: $
Water. 5
Rented furniture: $
Other: 5
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
OC) Yes... = Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6

 

 
 

 

. gase 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 18 of 60
Debtor, Elizabeth B Jennings Case number ¢rinaun
First Name Middle Name Las! Name

' 24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ $30(b)(1), 529A(b), and 629(b)(1}.

 

 

 

 

 

 

 

 

 

 

 

 

No
OR Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
$
: 3
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
Wi No
L) Yes. Give specific :
information about them... ; $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Interet domain names, websites, proceeds from royalties and licensing agreements
L) No
1 Yes. Give specific Intellectual: Domain Name
information about them... LegalDocsbyLiz $C. ;
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No
LI Yes. Give specific
information about them.... $

 

 

 

 

: 28. Tax refunds owed to you

No

L) Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. ..........scccccse

 

Federal:

Local:

 

:
:

 

© 29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlament, property settlement

L) No

 

 

 

 

 

1 Yes. Give specific information.............. | Child support arrears owed to Debtor by ex ;
husband Alimony: $
Maintenance: $
| Support: 5 __ 84,000.00
Divorce settlement: $
Property setiement: $
30. Gther amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone alsa
C Yes. Give specific information...............
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 19 of 60

Debtor 4 Elizabeth B Jennings Case number tittemuny

First Narra Middia Name Last Mame

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Q No

Q) Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect praceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
U) Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

iJ No

CO Yes. Describe aach claim...

 

 

 

 

: 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
: to set off claims :

i@ No

(1 Yes. Describe each claim. .....cccccent

 

 

35. Any financial assets you did not already list

id No

Yes, Give specific information............ s

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number Here oo cecccssssssssescsssccssssnssscsecsnssvasssusascecseessceccececsorssesceccecersnanieesecesseessanmeesteeseeessansacecsseceseesats SM $ 84,893.00

 

 

   

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

 

37.6 you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
LC) Yes. Go toline 38.

 

: 38.Accounts receivable or commissions you already earned

C) No
LU) Yes. Deseribe......;

 

 

 

39. Office equipment, furnishings, and supplies
i Examples: Business-related computers, software, madems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

(J No
QO) Yes. Describe....... s

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 
Eli Case 3:19-bk-00087-JAF Doc1 Filed 01/14/19 Page 20 of 60
Debtor 4 izabeth B ennings Case number ¢ krmown)

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

LJ No
Yes. Describe....... ;

 

 

 

 

41. Inventory
Ono
3 Yes. Describe...... iS

 

 

 

 

42. Interests in partnerships or joint ventures

QD) Yes. Describe... :

 

 

 

 

Name of antity: % of ownership:
% 5
es $
% 3
43. Customer lists, mailing lists, or other compilations
CL] No
LI Yes. Do your lists Include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
UO No eee :
(1 Yes. Describe... | i
| $ i

 

 

44. Any business-related property you did not already list

 

 

 

 

 

 

 

LJ No
LI Yes. Give specific $
information .........
3
$
s
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
? flor Part 5. Write that number here oo... ccc cscsccccessesssesssesecpassessnscesceseaaneseeseesessaneeeeceeesacniameeeieteessenmimieteeneestiaerianeeceesat see SP

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
if No. Go to Part 7.
CL) Yes. Go to line 47.

 

. 47. Farm animals
Examples: Livestock, poultry, farm-raised fish

O No
2

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 

 
se. 3: id bk-00087-JAF Doci1_ Filed 01/14/19 Page 21 of 60

Debtor 1 Elizabeth 8 Case. ing Case number ¢i mown
First Nama Middle Nama Last Name

 

 

! 48.Crops—elther growing or harvested

et)

j UO Yes. Give specific
information. ............ $

 

 

 

 

; 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

C) Ne
nn

 

 

 

 

: 50.Farm and fishing supplies, chemicals, and feed

{3 No
CD VES ccsssceeeecceeee

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list
: LY No

L) Yes. Give specific .
information. ............ 5

 

 

 

 

 

52. Add the dollar value of ali of your entries from Pari 6, including any entries for pages you have attached $
for Part 6. Write that number here ............... ceentenrtneeenee - . secseeeseaeseed sent ssaeseensacesenesaeesentaneeee

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples; Season tickets, cauntry club membership

Wd No

LI Yes. Give spacific
information. ............

 

 

 

 

 

als 0.00

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number Were ooo... cee ee ceeeseeseseiesees

 

i

List the Totals of Each Part of this Form
166,650.00

__ 86. Part 1: Total real estate, line 2 osusnuennnnminntninenmnininininntunnniinnninmennmernncinnemeninnmnunennnnn DF
500.00 _

| 86, Part 2: Total vehicles, line 5 $

57. Part 3: Total personal and household items, line 15 $ 725.00

58. Part 4: Total financial assets, fine 36 $ 84,983.00

59. Part §: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $. 0.00

61. Part 7: Total other property not listed, line 54 +¢ 0.00

oa rmanmernmaen cueneveseiraniengetsauonnotnuon nny peer NEE oat anew rater een event

62. Total personal property. Add lines 56 through 61. ....... eee $ 85, 708.00

 

Copy personal property total > + $ 85,708.00

 

 

| 63. Total of all property on Schedule A/B. Add line 55 + liN@ 62...:csucsaeanscmeutscineentsnnteentiniemnneieintntntsteneneee ¢ _- 252,358.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 22 of 60

Fill in this information to identify your case:

 

Debtor? Elizabeth B Jennings

 

 

 

First Name Midis Nama Last Name
Debtor 2
(Spouse, if filing} First Name Midd: Name Last Nama
United States Bankruptey Court for the:Middle District of Florida
Case number CL) Check if this is an
(H known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your hame and case number {if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as thase for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 190% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

EE teentity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse Is filing with you.

 

you are claiming state and federal nonbankrupicy exemptions, 11 U.3.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b}(2)

2. For any property you list on Schedu/e A/B that you claim as exempt, fill in the information below.

   

Fla. Stat. Ann. §222.25(4)

 

Brief
description: 2002 cedes 320 $500.00 i ¢ 500.00
Line from [100% of fair market value, up to

 

Schedule AB: 31 any applicable statutory limit

 

 

 

ret ation + _HOusehold:L.D.B sete $300.00  ¢ 300.00 Fla. Const. art. X, §4(a)(2)
; (2 100% of fair market value, upto
schedules: S4— any applicable statutory —
Line from LI 400% of fair market value, up to
Schedule A/B: 17.3 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment}

M No

LI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

(3 No
Ub Yes

Official Farm 106C Schedule C: The Property You Claim as Exempt page 1 of__

 

 

 
Case 3:19-bk-00087-JAF
Elizabeth B Jennings

First Name Middla Name

Doc 1 Filed 01/14/19 Page 23 of 60

Dabtor 4 Case number (# krown)

 

Last Name

freuwese Additional Page

 

 

 

 

 

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line trom

Schedule AB:

Brief
description:

Line from

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from

Child Support by Ex $

 

 

Os 84,000.00

CJ 100% of fair market value, up to
any applicable statutory limit

 

CL) 100% of fair market value, up to

 

LI 100% of fair market value, up to

 

C1 100% of fair market value, up to

 

LC) 100% of fair market value, up to

 

 

C] 100% of fair market value, up to

 

() 100% of fair market value, up to

 

L) 100% of fair market value, up to

 

CJ 100% of fair markat value, up ta

 

Schedule A/B:

Brief
description:

Line from

Schedule A/@:

Brief
description:

Line from

Schedule A/B:

Official Farm 106C

LJ 100% of fair market value, up to
any applicable statutory limit

 

 

L) 100% of fair market value, up to

29.1
$ L$
any applicable statutory limit
$ O¢
—. any applicable statutory limit
$_. Cis
—_ any applicable statutory limit
$ Os
—_—. any applicable statutory limit
$ Lis
oe any applicadle statutory limit
$ Os
—_ any applicable statutory limit
$ Lig
any applicable statutory limit
$ L$
——_ any applicable statutory limit
$ L$
$ Ls
any applicable statutory limit
$ Os

 

CL) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Fla Stat. Ann. § 222.201; 1
U.S.C, § §22(d)(10)(D)

 

 

 

 

 

 

 

 

 

 

 

 

page 2 of __

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 24 of 60

Fill in this information to identify your case:

Elizabeth B Jennings

Firat Narne

Debtor 1

 

Middie Name Last Name

Debtor 2
(Spouse, if filing} First Name

 

Middie Nana Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number
(lf known)

 

LJ Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married peaple are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it te this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?

UI No. Gheck this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
@ Yes. Fil in all of the information below.

| Part 4: | List All Secured Claims

  

 

 

 

 

 

 

 

 

 

 

Creditors Name

231 E Forsyth Street

 

 

 

0 Mimosa Grove Trail
Jax FL 32210

 

 

 

Number Street :
Suite 130 As of tha date you file, the claim is: Check all that apply.
, QO) Contingent
Jacksonville FL 32210 | Unliquidated
City State ZIP Code Q Disputed

Who owes the debt? Check one.

(J Debtor 1 only

CY Debtor 2 only

QO Debtor 1 and Debtor 2 only

(ef Atleast one of the debtors and another

C) Check if this claim ralatas to a
community debt

Date debt was incurred 01/01/2018

   

Nature of lien. Check all that apply.

LJ An agreement you made (such as morigage or secured
car loan}

led Statutory lien (such as tax lian, mechanic’s lien)

Q Judgment lien from a lawsuit

C) other {including a right to offset)

aa Michael Corrigan Tax Collect Describe the property that secures the claim: 5 9 ¢ 5,000.00 ¢
Creditor’s Name : : .
231 E Forsyth Street 3 Mimosa trove Trail
Number Street i ax
Suite 130 As of the date you file, the claim is: Check all that apply.
. QW Cantingent
Jacksonville FL 32210 = 1 unliquidated
City State ZIP Code Oo isputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
QJ Debtor 1 only QJ An agreement you made (such as mortgage or secured
CY Debtor 2 only car loan}
(J Bebter 1 and Debtor 2 only id’ Statutory lian (such as tax lian, mechanic’s lien}
(ef At least one of the debtors and another CJ Judgment lien from a lawsuit
CJ Other (including a right to offset)
O) Check if this claim relates to a
community debt .
Date debt was incurred 01/01/2014 Last 4 digits of account number 9 0 Oo Oo
[2.2 Micharl Corrigan Tax Collect Describe the property that secures the claim: $ 556.13 5,000.00 ¢ 0.00

 

 

 

 

 

Official Form 1060

Schedule OD. Creditors Who Have Claims Secured by Property

page 1 of

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 25 of 60

Elizabeth B Jennings

Debtor 1

Case number cf known

 

First Name Middle Name

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

Last Name

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditors Name

ion ae) PST RRLED POPE Me de sbarg fy Peete coe
Michael Corrigan Tax Collect Describe the property that secures the claim: $ 47.60 5,000.00 5 9.00
Creditors Name
231 E Forsyth Street 0 Mimosa Grove Trail
Number Sireat Jax FL 32210
Suite 130 a
As of the date you file, the claim is: Chack all that apply.
Jax FL 32210 UO Contingent
iy State _2IP Gode CO unliquidated
C) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CF Debtor 4 only Q) An agreement you made (such as mortgage or secured
LY Debtor 2 only car loan}
(J Debtor 1 and Dabtor 2 anily a Statutery lien (such as tax lian, machanic’s lien}
© Atleast one of the debtors and another CQ) Judgment lien from a lawsuit
CO Other (including a right to offset)
L) Check if this claim relates to a
community debt
Date debt was incurred 01/01/201€ Last 4 digits of account number _0 me a 0
Seterus Describe the property that secures the claim: $ 280,252.00 $ 161,650.00 $ 18,602.00
Grediter's Name
x 1077
P © Box 10 7134 Electra Dr S Jax, FL 32210 Duval Cty.
Number Street :
As of the date you file, the claim is: Check all that apply.
C) Contingent
Hartford CT 06143 EL Unliquidated
City Slate ZIP Code ©) nisputed
Who owes the debt? Chack one. Nature of lien. Check all that apply.
Wd Debtor 1 only C] Anagreement you made (such as mortgage or secured
Wi Debtor 2 only car loan}
I Debtor 1 and Debtor 2 only C1 Statutery lien (such as tax lien, mechanic’s lien}
(if Atleast one of the debtors and ancther QC) Judgment lien from a lawsuit
‘ : . Mortgage
) Check if this claim relates te a ld! Other (including a right to offset)
community debt
Date debt was incurred 01/20/2004 Last 4 digits of account number 4 3 SS 8
L_] Describe the property that secures the claim: 5 $ $

 

 

 

Number Street

 

 

 

 

City Stata ZIP Code

Who owes the debt? Check one.

Deblor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Ob OOOO

Check if this claim relates to a
community debt

 

_. rite that number here:

Official Form 106BD

As of the date you file, the claim is: Check all that apply.

Contingent

OO unliquidated

Q) Disputed

Nature of lien. Check all that apply.

OQ An agreement you made (such as mortgage or secured
car loan)

L) Statutory len (such as tax tien, mechanic's lien}

O Judgment lian from a lawsuit

CJ other (including a right to offset}

 

 

 

 

 

Additiana! Page af Schedule D: Creditors Who Have Claims Secured by Property

page _sof__—

 

   

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 26 of 60

Debtor 1 Flizabeth B Jennings

 

First Name Middle Name Last Name

Case number (i krown)

List Others to Be Notified for a Debt That You Already Listed

  

 

[| Ghidatti/Berger LLP

 

 

 

On which line In Part 1 did you enter the creditor? 2.5

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of account number_1 9 3 8
Attorneys for Plaintiff
Number Street
305 Biscayne Blvd #402
Miami FL 33175
City State ZIP Code
| Capital One CLTRL On which line in Part 1 did you enter tha creditor? 2.2
: Name Last 4 digits of account number 3 0 0 Oo
PO Box 54418
Number Street
New Orleans LA 70154
City State ZIP Cade
L_| Citimortgage Inc. On which lina in Part 1 did you enter the creditor? 2.9
Name Last 4 digits of account number_O 0 0 0
i 1200 South Pine Island Road
: Number Street
Fort Lauderdale FL 33324
City State ZIP Cade
| Florida Tax Lien Assets IV, LLC On which line in Part 1 did you enter the creditor? 2.1
: Name Last 4 digits of account number 4 Oo oO oO
i 2055 US Highway 1
i Number Street
_ Vero Beach FL 32960
: City State ZIP Cade
| On which line in Part 1 did you onter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the crediter?
Name Last 4 digits of account number
Number Street
ZIP Gade

City State

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page

of

 

 

 
led 01/14/19 Page 27 of 60

  

Fill in this information te identify your case:

Debtor? Elizabeth B Jennings

First Name Middle Name

 

Debtor 2
(Spouse, if filing) Fist Name Miidle Name

 

United States Banknuptey Court for the: Middle District of Florida

£) Check if this is an
ieee amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/5

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY clalms.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/8: Property (Official Form 1064/B) and on Schedule G: Executery Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Cantinuation Page to this page. On the top of
any additional pages, write your name and case number (if known}.

 

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
Gd No. Go to Part2.
CI ves.

 

 

 

 

 

Last 4 digits of account number 8 § 5

Priority Graditor's Name
When was the debt incurred?

 

Number Street

 

As of the date you file, the claim is: Check all that apply.
QO Contingent

QO Unliquidatec

QO Disputed

 

City State ZIP Code
Whe incurred the debt? Check one.
C Debtor 1 only

C1 Debtor 2 only Type of PRIORITY unsecured claim:
OY Debtor 1 and Debtor 2 only

 

C1 Domestic support obligations
(2 At least one of the debtors and another '
Q) Taxes and certain other debts you cwe the gavermment
L] Check if this claim ts for a community debt CJ Claims for death ar personal injury while you ware
Is the claim subject to offset? intoxicated
Ono CL) Other. Specify
C) yes

 

Last 4 digits of account number

 

Priority Creditor's Name —— —_~- —_ —._ § $ t

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply
QO Contingent

City State ZIP Code C) Unliquidated

Whe incurred the debt? Check ane. C1 cisputed

CP Debtor 1 only

C) Debtor 2 only

C) debtor 1 and Debtor 2 only

(C) Atieast one of the debtors and another

Type of PRIORITY unsecured claim:
LC] Domestic su pport obligations
Q) Taxes and certain other debts you owe the government

OC cisims fi th | injury whil
QC Check if this claim is for a community debt Claims for death or personal injury while you were

 

intoxicated
Is the claim subject to offset? C) other. Specify
Q) No
CD ves

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims nage 1 of

 

 
Debtor: Elizabeth BO@agingsl9-bk-00087-JAF Doc1 Filed 0144/19... Page 28 of 60

 

First Mama Middle Nama Lasi Name

ou Your PRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

Priority Creditor's Name

 

Number Street

 

 

Gily State ZIP Code

Who incurred the debt? Check one.

1D Debtor 1 only

(J Debtor 2 only

C) Debtor t and Debtor 2 only

UI Atleast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

OQ) No
enw bl Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Cy Contingent
Q Unliquidated
CJ Disputed

Type of PRIORITY unsecured claim:

OY Domestic support obligations
Taxes and certain other debts you owe the government

Q

LJ Claims for death or personal injury while you were
intoxicated

Q

Other. Specify

 

 

Official Form 106E/F

Schedule E/F: Greditors Who Have Unsecured Claims

 

Last 4 digits ofaccountnumber $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
CL) Contingent
Cily Slate ‘ZIP Code CD Untiquidated
QO} Disputed
Whe incurred the debt? Check one.
QO Debtor 1 only Type of PRIORITY unsecured elaim:
O Debtor 2 only C) Domestic Support obligations
CY Debtor 1 and Debtor 2 only .
(J Taxes and cenain other dabts you owe the government
LD Atleast one of the debtors and another . i .
O) claims for death or personal injury while you were
CE Check if this claim is for a community debt intoxicated
O1 other. Specify
Is the claim subject to offset?
QC) No
CO) ves
Last4 digits ofaccountnumber $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City Slale ZIP Code C) unliquidated
QO) Disputed
Who incurred the debt? Check one.
CI Debtor 1 only Type of PRIORITY unsecured claim:
L) Debtor 2 ont
Debtor 2 only LJ Domestic support obligations
CJ Debtor 1 and Debtor 2 only Q .
Taxes and certain other debts you owe the government
CJ Atleast one of the debtors and another \ |
(J claims for death or personat injury while you were
DD) Cheek if this claim is for a community debt intoxicated
O) other. Spacify
Is the claim subject to offset?
QO) no
CI ves
Last 4 digits ofaccount number 5

 

page of

 

 

 
Elizabeth ECARRId 9-Dk-00087-JAF Doc

Debtor 1

 

First Nama Middle Mama Lasi Name

List All of Your NONPRIORITY Unsecured Claims

1 Filed O1f44/1 ne Page 29 of 60

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?
LI No. You have nothing to raport in this part. Submit this form to the court with your other schedules.
id Yes
[1 | Credit First National Assoc Last 4 digits of account number_8 4 8 2. 1.467.00
Nonpriorty Creditors Name 08/15/2011 $A
. . i ?
Attn:BK Credit Operations PO Box 81315 When was the debt incurred? ~~
Number Street .
Cleveland OH 44181
City State ZIP Code As of the date you file, the claim is: Check ail that apply.
e| Contingent
Who incurred the debt? Check one. OO unliquidated
Debtor 1 only LY Disputed
(] Debtor 2 only
Q) Debter 1 and Bebtor 2 only Type of NONPRIORITY unsecured claim:
LJ Atteast one of the debtors and another O Student loans
OO check if this claim is fora community debt | Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
is the claim subject to offset? {2 Dabts to pension or profit-sharing plans, and other similar debts
4 No W& other. Specify Charge Acct
CI ves
42 7 Credit Gne Bank Na Last 4 digits of account number 7F 1 1 9 $ 300.00
Nonpriority Creditors Name When was the debt incurred? 05/19/2016
PO Box 98873
Number Street
Las Vegas NV 89193 As of the date you file, the claim is: Check all that apply.
City State AP Code O Contingent
Who incurred the debt? Check one. QO) uniiquidate
i Debtor i only CY Disputed
LE Debtor 2 only .
O) nebtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
L) Atleast one of the debtors and another OQ) Student loans
oe i. . Q) Obligations arising out of a separation agreement or divorce
Q) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? () Debts to pension or profit-sharing plans, and other similar debts
W no CL] Other. Specify
LJ Yes
43 CW Nexus Credit Holding Last 4 digits of accountnumber 0 7 4 §& 539.89
Noapriorily Creditors Nams When was the debt incurred? 03/02/2016 $___==
PO Box 10368 ,
Number Street
Greenville sc 29603 ae
City Sale AF Gade As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. a Contingent
LJ Uniiquidated
bf Debtor 1 only ,
| Disputed
Q) Debtor 2 only
C) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Atleast one of the debtors and anothar
(J Student loans
C) Check if this claim is for a community debt C] Obligations arising out of a separation agrasment or divorce
is the claim subject to offset? that you did nat report as priority claims
N Debts tc pension or profit-sharing plans, and other similar debts
ve iY other. Specify Mertick Bank
es

 

 

page _ of

 

 
Debtor 1

 

First Nama Middle Nama Lasi Name

Elizabeth Baaaaige-9-bk-00087-JAF Doc1 Filed 01/4/49, Page 30 of 60

 

 

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fed Loan Servicing Last 4 digits of account number 9 0 O 2° 558,951.00
Nonpriority Creditors Name . oB/o + i 996
PO Box 69184 When was the debt incurred?
Number Street - .
Harrisburg PA 47106 As of the date you file, the claim is: Check att that apply.
City State ZIP Gade C) contingent
QO unliquidated
Who incurred the debt? Check one.  pisputed
id Debtor 1 only
{2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Bebtor 1 and Debtor 2 only O Student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
( Check if this claim is for a community debt you did not report as priority claims
Q) Debts ta pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? © other. Specity_ Educational
B no
CI ves
LNVN Funding Last 4 digits of accountnumber 7 1 1 9 $ 282.88
Nonpriority Greditor’s Name
When was the debt incurred? 02/01/2016
PO Box 10587
Number eet As of the date you file, the claim is: Check all that
. e : .
Greenville Sc 29603 ate you Mle, the claim is: Check all that apply
City State ZIP Coda oO Contingent
CJ Untiquidated
Who incurred the debt? Check one. C1 Disputed
CO debtor 4 only
L) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 oniy O Student loans
Al least one of the debtors and another C1 obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a commu nity debt you did not report as priority claims
CE Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? if other. Specify Credit One Bank
icf No
Q) Yes
: Last 4 digits of account number 2 3 5 3 s_1,186.00
Portfolio Recovery 9 ~aA+ SS
Nonpriority Greditor's Name
When was the debt incurred?
PO Box 41067
Number Siraet
As of the date you file, the claim Is: Check all that apply.
Norfolk VA 23541 ¥ araery
City State ZIP Code L centingent
) Uniiquidated
Who Incurred the debt? Check one. LJ Disputed
lf Debtor 1 only
C2) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only OO Student loans
At least one of the debtors and another C1 Obiligations arising out of a separation agreement or divorce that
LI Check if this claim is for a community debt you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? id other. Specify Capital One Bank
id No
UI Yes
Official Form 106E/F Schedule E/F: Creditors Whe Have Unsecured Claims nage = of

 

 
Debtor 1

Elizabeth Bum@sainys.9-bk-00087-JAF Doc1 Filed 0144/19... Page 31 of 60

First Name Middle Narne Last Name

 

 

List Others to Be Notified About a Debt That You Alraady Listed

 

5. Use this page only if you have others to be notifled about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if 2 collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

additional creditors here, If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ ee
City State 2ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 of Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street L) Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of account number | ee
City Siale ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U) Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Nama
Line of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UJ Part 1: Creditors with Priority Unsecured Claims
Number Street qi : soy
QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Gily iP Gode Last4 digits ofaccountnumber_

Official Form 106E/F

State

 

Schedule E/F: Creditors Who Have Unsecured Claims

page = af

 

 
beptor1 Elizabeth BQapaings9-Dk-00087-JAF Doc1 Filed 01414/19... Page 32 of 60

First Nama Middle Namo Last Name

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

6a. Domestic support obligations 6a. $ 0.00
6b. Taxes and certain other debts you owe the

government 6b. $ 0.00
6c. Claims for death or personal injury while you were

intoxicated 6c. 5 0.00
6d. Other. Add all ather priority unsecured claims.

Write that amount here. 6d. 4 $ 0.00
Se. Total. Add lines 8a through 6d. 8e.

§ 0.00

 

 

 

 

 

 

 

- 6£ Student foans 6f. $ 58,951.00
6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
claims og. s
Gh. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0,00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. Bi. ot ¢ 3,775.77
"| 6). Total. Add lines 6f through 6i. , 6j.
a $ 62,726.77

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 33 of 60

Fill in this information to identify your case:

Debtor Elizabeth B Jennings
Fst Name Middis Name Last Name

 

Debtor 2
(Speuse If filing} First Name Middle Name Last Name

 

United States Bankruptcy Caurt far the: Middle District of Florida

Case number spats
(If known) CY Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
Wd No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
L) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 1064/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, call phone}. See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

2.4)

 

Name

 

Number Street

 

City State ZIP Code

 

2.2

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Cade

 

Name

 

Number Street

 

City State ZIP Cade

 

Name

 

Number Street

 

 

City ; State ZIP Code

Official Form 406G Schadule G: Executory Contracts and Unexpired Leases page 1 of

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 34 of 60

Debtor 1 Elizabeth B Jennings Case number tir éncwel

First Name Middle Name Lag| Nama

 

 

a Additional Page if You Have More Contracts or Leases

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leasas page of

 

 
 

Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 35 of 60

UUM eM NOLM ch Ce Rm COMICS CULL CRA meee] 0 merc to to

 

Debtor Elizabeth B Jennings

 

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if fling} First Name Middla Name Last Name
United States Bankruptcy Court for the: Middle District of Florida
Case number
IF ki . a
{known} Ch Check if this is an

 

amended filing

Official Form 106H
Schedule H: Your Codebtors 4245

Codebtors are pecple or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

O) No
4 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property staies and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

4 No. Go to line 3.
LJ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

L} No

LY Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or lagal equivalent

 

Number Streat

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown inline 2 again as a codebtor only if that person Is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F}, or Schedule G (Official Form 106G). Use Schedule D,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.4 : :
Victor Jennings wy Schedule OD, line 2.1
2136 Geneve Street O] Schedule G/F, line
Number Steet CI Sehedule G, line
Jacksonville FL 32207
City noses SEE oc aceaennee mene nennenmeenenn He de a cesevneennerunrtevini vin aninteenttin wa say stutaeey fi wueteussursewattovewenven ines un iytnturtueunencaves

3.2) Victor Jenni
wor ennings C1 Schedule D, line 2.2
2136 Geneve Street 1 Schedule E/F, line
Number Street C) Schedule G, line
Jacksonville FL 32207
City . State lonannanennen ee GOD 8 ne neame

3.3 Victor J :
victor ennings ad Schedule D, line 2,3
2136 Geneve Street OC) Schedule E/F, line____
Number Straet (3 Scheduie G, line
Jacksonville FL 32207

 

 

City Slate ZiP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 36 of 60
Debtor 1 Elizabeth B Jennings : Case number (it known}

Firsi Name Middle Name Last Name

| Additional Page to List More Codebtors

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

P| |
Victor Jennings W@ Schedule D, line2.4
QO) Schedule E/F, tine
2136 Geneve Street :
Number Street {) Schedule G, line
Jacksonville FL 32207
___ City . a) ZIP Code
|
QO) Schedule D, line
Name
Q) Schedule E/F, line
Number Seat QO Schedule G, line
__ Gity State ZIP Cade
|
QO) Schedule D, line
Name
Q) Schedule E/F, line
Number Street OC) Schedule G, line
City State ZIP Cade
a
(J Schedule D, line
Name TO
OQ) Schedule E/F, line
Number Sirest LI Schedule G, line
City State. ZIP Code .
|
CI Schedule D, line
Name —
Q) Schedule E/F, fine
Nurnder Streat O Schedule G, line
net ove ues tate cece AIP Code
=
Q] Schedule D, line
Name
C] Schedule E/F, line
Number ‘Street QC) Schedule G,line_
_Gily. , State ZIP Code jurmnensnvegen
|
O) Schedule D, line
Name
QO) Schedule E/F, line
Number Sheet QO) Schedule G, line
Gily State 7 corer TOONS cc um-ttnmutntnitmuteinimenninimananentitnstnneniniininit nace -eanesinsitne
LJ Schedule D, line
Name ——
OW Schedule E/F, line
Number Street OC Schedule G, line _
ity State ZIP Code

 

Official Form 106H Schedule H: Your Godebtors page of

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 37 of 60

Fill in this information to identify your case:

Debtor 1 Elizabeth B Jennings

First Name Middic Name Last Nama

 

Debtor 2
(Spouse, # filing} FirstName Middle Name Laat Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number Check if this is:
(If known)
Q) An amended filing

(J A supplement showing postpetition chapter 13
income as of the following date:

 

 

 

Official Form 1061 MM? DD? YYYY
Schedule I: Your Income 42415

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2}, both are equally responsible for
supplying correct information. If you are married and not filing Jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known}. Answer every question.

PERE ve scrite Employment

'4. Fill in your employment
| information.

 

 

 

If you have more than one job,
attach a separate page with

 

information about additional Employment status 4 Employed LJ Employed
employers, LJ Not employed LJ Not employed
Include part-time, seasonal, or
self-employed work. . .

ey Occupation Senior Advisor
Occupation may include student
or homemaker, if it applies.

Employer's name Kelly Services Global, LLC

 

Employar's address 999 W. Big Beaver Road

 

 

 

 

Number Street Number Street
Ste 401A
Troy MI 48084
City State ZIP Code City State ZIP Code
How long employed there? 5/2017 5/2017

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write 50 in the space. Include your nan-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
balow. H you need more space, attach a separate sheet to this form.

 

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. 5 2,816.00

 

$
. 3. Estimate and list monthly overtime pay. 3. FF + ¢
4. Calculate gress income. Add line 2 + line 3. 4.| 3 2,816.00 $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 38 of 60
Dabtor 1 Elizabeth B Jennings Case number (4 kaw
Firs] Name Middis Name Las! Name
Copy fine 4 Are. ceesccccssccceensssmmessceessercccnsctsssessssisesmatsssinnaneeree D4 §__ 2,816.67 $
|S. List all payroll deductions: .
Sa. Tax, Medicare, and Social Security deductions 5a. § 317.46 $
5d. Mandatory contributions for retirement plans Sb. § $
5c. Voluntary contributions for retirement plans 5c. §$ $
Sd. Required repayments of retirement fund loans 5d. § 5
Se. Insurance fe. $ $
5 Domestic support obligations 5f. $ $
5g, Union dues 50. 5 $
5h. Other deductions. Specify: Sh. +4 +¢
6. Add the payroll deductions, Add lines Sa + 5b +5c45d+5e+5f+5gt+5h 6  $ 317.46 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. g 2,499.21 $
8. List all other income ragularly received:
8a. Net income from rental property and from operating 2 business,
profession, or farm
Attach a statement for each property and business showing grass
receipts, ordinary and necessary business expenses, and the total $ 1,293.89 $
monthly net income. 8a. , :
8b. Interest and dividends 8b. §$ $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child suppart, maintenance, divorce 5 $
settlement, and property settlement. 8c.
8d. Unemployment compensation ad. §. $
fe. Social Security 8e. § $
Bf Other government assistance that you regularly receive
Include cash assistance and the vatue (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Spacify: a. =$ $
8g. Pension or retirement income 8g. $ $
&h. Other monthly income. Specify: Bh. +5 +$
9. Add all other income. Add lines 8a + 6b + 8c + &d + Ge + 8f +89 + 8h. 9/ ¢ 1,293.69 3
10. Calculate monthly income. Add line 7 + line 9. 3 793.10 _ 3 793.10
Add the entries in line 10 for Debtor 1 and Debtor 2 or nor-filing spouse. 49.) $ LES | + $ =f : :
11. State ail other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friands or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11.* $
12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income, 3793.10
| Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. fp__37939.10
Combined

: monthly income
: 13.Do you expect an Increase or decrease within the year after you file this form?
No.

DC Yes. Explain:

 

 

 

Official Form 106! Schedule I: Your Income page 2

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 39 of 60

TUL MCE MU ROL Cir iei Cm Comte ie me eke meer ect cae
Debtor1 Elizabeth B Jennings Fig |

eorer Firsl Name g Middle Name Last Name Check if this is:
Debtor 2

(Spouse, if fling) First Name Middie Mame Last Name

 

L] An amended filing

CL A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: Middle District of Florida

Case number

(If known) MM ? DD YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If twa married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

EERE oo scrive Your Household

1. Is this a joint case?

 

(J Ne. Go to line 2.
U) Yes. Does Debtor 2 live ina separate household?

CQ) No
L) Yes. Debtor 2 must file Official Farm 106-2, Expenses for Separate Household of Debtar 2.

 

 

 

 

 

 

 

"2. Do you have dependents? CJ No ;
Oependent’s relationship to Dependent's Does dependent tive
Do notlist Debtor 1 and © Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. Gah dEPENdent...srsrererssceseseees O
Do nat state the dependents’ Daughter 20 g No
names. : Yes
Son 23 No
: Yes
L] No
LI Yes
CL) No
L) ves
LW No
O) ves
3. Do your expenses include I No

expenses of people other than
yourself and your dependents7 O Yes

   

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
' expenses as of a date after the bankruptcy is filed. !f this is a supplemental Schedule J, check the box at the top of the form and fill in the
' applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule }: Your Income (Official Form 1061.)

 

4, The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot. 4. $ 0.00
If not included in line 4:

4a. Real estate taxes 4a $ 0.00
4b. Property, homeowner's, or renters insurance ~ 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106 Schedule J: Your Expenses page 1

 

 
 

 

 

 

 

 

 

 

 

 

Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 40 of 60
Debtor 1 Elizabeth B Jennings Case number titnann__.
First Nama Middle Name Last Name
| 5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utllities:
fa. Electricity, heat, natural gas 6a S 520.00
6b. Water, sewer, garbage collection 6b. 60.00
6c. Telephone, cell phone, Internet, satellite, and cabla services 6. $ 500.00
6d. Other, Specify: 64S 0.00
7. Food and housekeeping supplies 7. g 750,00
_ & Childeare and children’s education costs a = § 0.00
9. Clothing, laundry, and dry cleaning a. $ 200.00
10. Personal care products and services 10. §$ 65.00
11. Medical and dental expenses a0 $ 170.00
12, Transportation. Include gas, maintenance, bus or train fare. $ 250.00
Do not incdude car payments. 12,
43. Entertainment, clubs, recreation, newspapers, magazines, and books 13. 0.00
44, Charitable contributions and religious donations 14. $ 0.00
15. Insurance.
: Do not include insurance deducted fram your pay or included in lines 4 or 20.
15a. Life insurance 1a. §& 0.00
15b. Health insurance 15h. $ 34.00
16. Vehicle insurance 150, $ 196.00
15d. Other insurance, Specify: 1hd 6 0.00
416. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16 S$ __—Y-.
47. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. 4 0.00
47b. Car payments for Vehicle 2 , 17b.  § 0.00
17c. Other. Specify: 7. 0.00
17d. Other. Specify.0 17d. § 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay online 5, Schedule |, Your Income (Official Form 106l). 18 og 0.00
419, Other payments you make to support others who do not live with you.
Specify_.9 19. $ 0.00
20. Other real property expenses nat included in lines 4 or 5 of this form ar on Schedule f: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b.  & 0.00
20c. Property, homeowner's, or renter's insurance 20c. 0.00
20d. Maintenance, repair, and upkeep expenses 20d. 0.00
208. Homeawner’s association or condominium dues me. $_ 0.00

Official Form 106J Schedule J: Your Expenses page 2

 

 
Case 3:19-bk-00087-JAF

Elizabeth B Jennings

First Nena Middle Name

Debtor 7

Last Name

Doc 1 Filed 01/14/19 Page 41 of 60

Case number cr imown}

21.

 

21. Other. Specify:

‘22. Calculate your monthly expenses.

22a. Add lines 4 through 21.

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23, Calculate your monthly net income.
23a.

23b. Copy your monthly expenses from line 22c above.

23c,
The result is your monthly net income.

Copy line 12 (your combined monthly income) from Schedule |.

22a.

22h.

22C.

23h.

Subtract your monthly expenses from your monthly income. -
23c.

23a.

santana ery

+5 0.00
$ 2,705.00
$

$ 2,705.00

§ 3,793.10

2,705.00

 

 

$ 1,088.10

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

Fer example, do you expect to finish paying for your car Joan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

ff No.

 

QC) Yes.

Explain here:

 

Official Form 106J

Schedule J: Your Expenses

page 3

 

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 42 of 60

Fill in this information to identify your case:

Debtor 1 Elizabeth B Jennings

Firat Name Middla Name

 

Debtor 2
(Spouse, if fling} First Name Middle Name

 

United States Bankruptey Court for the: Middle District of Florida

Case number
(H known}

 

C) Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 4215

 

 

If two married people are filing together, both are equaily responsibie for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone wha is NOT an atterney to help you fill out bankruptcy forms?

W no

LJ Yes. Name of person _ Attach Banknupicy Petition Preparer’s Notice, Declaration, and
Signature (Official Farm 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Cee

 

 

Signaturs of Debtor} —————_— Signature of Debtor 2
Date Date
MM/ DD??? . MM/ Ob f ¥YYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 43 of 60

Fill in this information to identity your case:

Debtor 1 Elizabeth B Jennings

Firat Name Midcla Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of

Case number
(lf known}

 

 

Q] Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42415

 

 

If two married peopte are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules, Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisontient for up to 20
years, or both. 18 U.5.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

W@W No

L) Yes. Name of person . Attach Bankruptcy Petifian Preparer's Notice, Declaration, and

 

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

: Signature af Debtoy 1 Ce . Signature of Debtor 2

 

 

Date
MM/ DD f YYYY

 

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 44 of 60

Fill in this information to identify your case:

Debtor 1 Elizabeth B Jennings

First Name Midcla Name Last Nama

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known}

 

 

 

Official Form 122C-1

 

Check as directed in lines 17 and 21:

According to the calculations required by

this Statement:

1. Disposable income is not determined
under 11 U.3.C. § 1325(b){3).

Ci 2. Disposable income is determined
under 11 U.S.C. § 1325(b}(3).

 

| 3. The commitment period is 3 years.
4. The commitment period is 5 years.

 

 

CJ Check if this is an amended filing

Chapter 13 Statement of Your Current Monthly Income

and Calculation of Commitment Period

12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the

top of any additional pages, write your name and case number (if known).

| part a: | Galculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A, lines 2-11-

C) Married. Fill out both Columns A and B, lines 2-11.

   

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions).

3. Alimony and maintenance payments. Do not include payments from a spouse.

4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regufar contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates, Do not include payments from a spouse. Do not include payments you
listed on line 3.

5. Net income from operating a businass, profession, or
farm

Gross receipts (before all deductions)

 

Ordinary and necessary operating expenses -$ -$

Net monthly income from a business, profession, or farm $23.00 $

    
  

 

6. Net income from rental and other real property

Gross receipts (before all deductions}

Ordinary and necessary operating expenses

Net monthly income from rental or other real praperty Copy

 

Official Form 122C-1

Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period

0.00 $

¢
rere 5 1,293.00

0.00 $

__ here> $ __

page 1

 

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 45 of 60
Debtor 1 Elizabeth B Jennings Cage number t# known)

 

 

Firal Name Middia Name Last Name

 

 

 

7. Interest, dividends, and royalties

 

& Unemployment compensation

Do not enter the amount if you contend that the amount received was a4 benefit under
the Social Security Act. Instead, list it here: 0.0... ee eecceeeeeee

FOP YOU. ce cee ceeeeennesceceessteesersssntseenserstessaesanensnnseseeiet $ 0.00
FOP YOUP SPOUSE 0. ec csneressseesescensttntaniescessseesarseere $
9. Pension or retirement income. Do not include any arnount received that was a 0.00
benefit under the Social Security Act. $ : $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. 1f necessary, list other sources on a Separate page and put the

 

 

 

 

 

 

 

 

 

 

 

total below.
§ 0.00
3 D.00 5
Total amounts from separate pages, if any. +S 0.00 +5
11. Calculate your total average monthly income. Add lines 2 through 10 for each _
column. Then add the total for Column A to the total for Column B. g__ 1,293.00 i+) ¢ =|¢ 1,293.0
Total average

Determine How to Measure Your Deductions from Income

monthly income

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12. Copy your total average monthly income fromm WG 11... ee ccs esenenenescnecee stent eraeacsaeesaeesaeesaeesuesaaessanseaessetsetessanseaeseetrase $ 1,293.00
13. Calculate the marital adjustment. Check one:
he] You are not married. Fil in O belaw.
C] You are married and your spouse is filing with you. Fill in 6 below,
You are married and your spouse is not filing with you.
Filt in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the hausehold expenses of
you or your dependents, such as payment of the spouse’s tax liability or the spouse's support of someone other than
you or your dependents.
Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
list additional adjustments on a separate page.
{f this adjustment does not apply, enter 0 below.
$
$
+$
0.00 — 0.00
Tt... ee ceccceteneseescstsertsrtsctecunecseescsnecercasctesseseecaesssesntttteeaesscssaeecereatateseesqnes sone taneaueeneersnersoees $Y Copy here >
14. Your current monthly income. Subtract the total in line 13 from line 12. $ 1,293.00
15. Calculate your current monthly income for the year. Follow these steps:
1,293.00
18a, Copy line 14 here Prac ccc ccccsssssssssesoussersseseeesseees $_ieoeas
Multiply line 15a by 12 (the number of months in a year). x 12
15b, The result is your current monthly incorne for the year for this part of the form. ec cee cece ceseeseencenesceeseneeenssesnteensenereecseeants $_ 15,526.00
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitmant Period page 2

 

 

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 46 of 60
Debtor 1 Elizabeth B Jennings

Case number (# kaw
First Name Middie Name Last Name

 

16. Calculate the median family incoma that applies to you. Follow these steps:
16a. Fill in the state in which you live. FL
3

16b. Fill in the number of people in your household.

téc. Fill in the median family income for your state and size of household. . peseeeceeees eseescesaneeeeseneseeeeesnteceeees $ 59,881.00

To find a list of applicable median income amounts, go online using the link spacified i in nthe separate |
instructions for this farm. This list may also be available at the bankruptey clerk's office.

17. How do the lines compare?

Ta. Line 156 is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
77 U.S.C. § 1325(b) (3). Go to Part 3. Do NOT fill out Calculation of Your Disposable income (Official Form 122C—2).

1?b. [3 Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income js determined under
T1 U.S.C. § 1325(6) (3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C—2).
On line 39 of that form, copy your current monthly income from line 14 above.

ra aCe Calculate Your Commitment Period Under 11 U.S.C. § 1325(b}(4)

18. Copy your total average monthly Income fromm lime V4. eeseoeseeee cc eeeecceeeeeteeececcnsecsnnenn rete ceneeneee rn eeeececdennantuicarasanannaneteseneeseneee 1,293.00

19. Deduct the marital adjustment if it applies. If you are married. your spouse is not filing with you, and you contend that

calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
the amount from line 13.

19a. If the marital adjustment does not apply, fill in D OM LING WGa. oe ee eee see eeee eee enene tee saeeeennedd secs aunnaaacaaddgespegeunsvansenengenceeseeeeee

 

 

 

 

 

 

 

 

—$
19>. Subtract line 19a from line 18. §
20. Calculate your current monthly income for the year. Follow these steps:
20a. Copy Wm) IS. on cccccecstesseessesccessceccenscenssesasascsscsmessseseaessouacsuaseniuenssesauseauseeeserssersbarcdescsesseesanesavessoeyressteescettacseseasseasecsesneesnsesteree ce $
Multiply by 12 (the number of months in a year}. | x 1?
20b. The result is your current monthly income for the year for this part of the form. %
20c. Copy the median family income for your state and size of household from lime TGC... ee eseecceeeeeeteue tes cseecseeeceseeetaneesetneee 59.8381.00

 

 

 

21. How deo the lines compare?

Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

TC] Line 206 is more than or equal to line 20c, Unless otherwise ordered by the court, on the top of page 1 of this form.
check box 4, The commitment period is & years. Go to Part 4.

By signing éqe information on this statement and in any attachments is true and correct.

x

 
  

 

Signature of Dabtor 1 Signature of Deblor 2
Date 6 Date
MMP DD HYYYY : MM/ OD /YYYY

If you checked 17a, do NOT fill out or file Form 122C—2.
If you checked 176, fill out Form 122C—2 and fife it with this form. Qn line 39 of that form, copy your current monthly income fram line 14 above.

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Incoms and Calculation of Commitment Period page 3

 

 

 
Case 3:19-bk-00087-JAF Doci1 Filed 01/14/19 Page 47 of 60

Fill in this information to identify your case:

Debtor 4 Elizabeth B Jennings

First Nama Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number abe &
(If known) LI Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet ta this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Fant 4: | Give Details About Your Marital Status and Where You Lived Before

 

4. What is your currant marital status?

( Married
4 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

H No

CJ Yes. List all of the places you lived in the last $ years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

1) same as Debtor 4 ) Same as Debtor 1
From From
Number Streat Number Street
To To
City State ZIP Code City State ZIP Code
C} Same as Debtor 1 L) same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Coce

 

: 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Cornmunity property
: states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

MH No

OF Yes, Make gure you fill gut Schedt#e H: Your Cadebtors (Official Form 106H).

REE cxoiain the Sources of Your Income

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Debter1 Elizabeth B Jennings

First Name Mickle Nama Laal Name

Case number (known,

 

 

: 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ail businesses, including part-time activities.

If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

CI No

Yes. Fill in the details.

 

From January 1 of current year until a NaKes. commissions, $ 1,626.29 QO wages, ae sons: $
the date you filed for bankruptcy: nuses, tips "= onuses, tips
QO Operating a business

. L) wages, commissions, LI wages, commissions,
For last calendar year: bonuses, fips $ 29,368.53 bonuses, tips $
(January 1 to December 31 2018 __) Q) Operating a business L) Operating a business
For the calendar year before that: CI wages, commissions. O) wages. commissions,
bonuses, tips 14,352.00 bonuses, tips
J 1 to Decamber 31,2017 ness ; $
(January 1 to December 31,2017 ) Operating a business Operating a business

YYYY

: 5. Did you receive any other income during this yaar or the two previous calendar years?
: Include income regardless of whether that income is taxable. Examples of other income are alimony; child support: Social Security,

unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

WW No

Q] Yes. Fill in the details.

 

From January 1 of current year until
the date you filed for bankruptcy:

 

 

 

 

 

 

J

For last calendar year:
(January 110 December 412018

yyvvy
Far the calendar year before that: $
(January 1 to December 31,2017

wy

$
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page 2

 

 

 
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Debtor 4 Elizabeth B Jennings Case number (if knows)
First Nara Middle Name Laal Name

 

eee us Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
C) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425" or more?

L) No. Go to line 7.

L) Yes. List below each creditor to whom you paid a total of $6,425* or more in ane or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney far this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

FA Yes. Debtor 4 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

1 No. Go to line 7.

L) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor, Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

= $ $ o Mortgage
Creditors Name
L Car
Number Stree! CD credit card

CJ Loan repaymiertt

 

im Suppliers or vendors

 

   

 

 

City State ZIP Cade LD other
$ $ LJ Mortgage
Creditors Name
CL) car
CL} credit cara

 

Number Street

LY Loan repayment

 

LJ] Supaliers or vandors

 

 

 

 

~ ) Other
city Siate ZIP Cede
$ 5, O Mortgage
Creditor’s Name
QO Car
CI credit card

Number = Street
LI Loan repayment

 

L) Suppliers or vendors

C3 other

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 

 
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Debtor1 Elizabeth B Jennings

Case number tt known,
First Name Middle Nama Laai Name

 

 

: 7. Within 1 year before you filed fer bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
: lasiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

HM No

LJ Yes. List all payments to an insider.

 

 

 

 

 

 

_ i $
Insider's Name
Number Streei
City State ZIP Code
$ 3

 

Insider's Name

 

Number Street

 

 

City State ZIF Code

 

   

: 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
: an insider?

Include payments on debts guaranteed or cosigned by an insider.

Hi No

LJ Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

§ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

 

FIN peer te nce on ES IP Od acca ne een

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptcy page 4

 

 
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Debtor 1 Elizabeth B Jennings Case number titknoun)
Firal Neme Middle Name Laat Nama

 

 

Ey Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

: List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custody modifications,
and contract disputes.
CE No
Wi Yes. Fill in the details.

 

     

 

 

 

 

 

 

 

 

 

Citimort Foreclosure Duval County Clerk of the Courts
Case tite +MImorigage, Inc °ount Name Pending
vs. Elizabeth Jennings 501 W Adams Street O on appeal
: Number Street L) concluded
Case number 16-2012-CA-10676 Jacksonville FL 32202
: City Slaie ZIP Code
Case title | Coun Name Q) Pending
| On appeal
:Number Street C) Concluded
Case number
Gily State = ZIP Code

 

 

 

19. Within 7 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

ww No, Go to line 11.
(J Yes. Fill in the information below.

 

 

Creditors Name

 

 

 

Number Street

Property was repossessed.

 

Property was foreclosed.
Property was gamished.

 

City State ZIP Code

 

 

 

 

Creditors Name

 

 

Number Street

 

Property was repossessed.
Property was foreclosed.

 

 

City Slate ZIP Code

U)
Q) Property was garnished.
QO

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Debtor1 Elizabeth B Jennings Case number i#anomn)

First Name Middle Name Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Yi No

C) Yes. Fill in the details.

 

Greditor's Name

 

 

Number Street

 

 

 

City Stata ZIP Gode Last 4 digits of account number: XXXX—___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

LY No
L) Yes

 

| Part 5: | List Certain Gifts and Contributions

: 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

4 No

L) Yes. Fill in the details for each gift.

 

 

Persan to Whom You Gaye the Gift

 

 

Number Street

 

City State ZIP Cade

Person's relationship to you

 

 

 

 

Person ta Wham You Gave the Gift

 

 

Number  Sireat

 

City State ZIP Code

Person's relationship to you

 

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Debtor 1 Elizabeth B Jennings

Case number i known)
First Name Middle Nama Last Name

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

WI no

CI) Yes. Fill in the details for each gift or contribution.

 

 

 

Charity’s Name

 

 

Number Street

 

City State ZIP Cade

Ce Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

( Yes. Fill in the details.

   

 

 

ra ui Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

No
U) Yes. Fill in the details.

   

 

Parson Who Was Paid

 

Number Street / $

 

 

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made tha Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 
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Debtor 4 Elizabeth B Jennings Case number tf moun)

First Name Middia Name Last Name

 

 

 

 

 

 

 

Parson Who Was Paid

 

Number Street

 

 

 

City State ZIP Cade

 

Email or website address

 

Persen Who Mace the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

no

CJ Yes. Fill in the details.

  

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

; 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

No

C] Yes. Fill in the details.

 

 

 

Person Who Recsived Transfer

 

Number Street

 

 

City State ZIP Cade

Person’s relationship lo 0 you .

 

Person Who Received Transler

 

Number Street

 

 

City State #IP Cade

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 

 
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Debtor 1 Elizabeth B Jennings Case number (known),

First Name Middle Name Laal Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assel-profection devices.}

wi No
CJ Yes. Fill in the details.

 

Name of trust

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage hcuses, pension funds, cooperatives, associatians, and other financial institutions.

W@W No

L) Yes. Fill in the details.

 

 

Name of Financial Institution

 

 

 

 

 

OOK () cheeking $
Number Streat C) savings
O Money market
L) Brokerage
City State ZIP Code OO other
XXXX- C) checking $
Nama of Financial institution
CI savings
Number Street O Money market

QO) Brokerage

 

O Other.

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depositary for
securities, cash, or other valuables?
7 No
L) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Name of Financial Institution Name OC] Yes
Number Street Number Street

City State ZIP Gode
City State = ZIP Code :

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
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Debtor 1 Elizabeth B Jennings

Case number Gt known),
First Nama Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Q No
C2 Yes. Fill in the details.

 

—ONe
| OyYes

 

Name of Storage Facility Name

 

Number Street Number Street

 

City State OP Code

 

HY coccinea ZIP Bode

EEE eentity Property You Hold or Contre! for Someone Else

23. Do you held or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

wu No
CD Yes. Fill in the detaiis.

   

 

Owner's Name

 

Number Street

 

Number Slreet

 

 

 

 

Gity State IP Code
City State ZIP Code

Era Give Detalls About Environmental Information

For the purpose of Part 40, the fallowing definitions apply:

 

{i Environmenial law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, ar material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

: = Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
: utilize it or Used to own, operate, or utillze it, including disposal sites.

: = Hazardous materia/ means anything an enviranmental law defines as a hazardous waste, hazardous substance, toxic
: substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

"24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Hi No

CL] Yes. Fill in the details.

  

"pala oteial!

 

 

 

 

 

Namp of site Governmental unit
Number Street Number Street
City State ZIP Code
City State ZIP Cade
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 

 
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Debtor 4 Elizabeth B Jennings Case number (i snown)

First Namo Middle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous material?

@ No

C) Yes. Fill in the details.

 

 

 

 

 

Mame of site Governmental unit
Number Street Number Street
City State ZIP Code

 

State 2iP Code

2
<

     

: 26. Have you been a party in any judicial or administrative proceeding under any environmental jaw? Include settlements and orders.

Mi No

C) Yes. Fill in the details.

   

“Court or agency

 

 

 

 

 

Case title, gO ;
Court Name ; Pending
- O on appeal
Number Street : QI Conctuded
Case number Clty State ZIP Gode

Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
(J A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

QO A member of a limited liability company (LLC} or limited liability partnership (LLP)

(J A partner in a partnership

() An officer, director, or managing executive of a corporation

 

CQ) An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.

LegalDocsbyLiz

Business Name

7134 Electra Dr South

Nuniber Street

 

 

 

Jacksonville FL 32210
I cr anannnnee State, ZIP Gode

 

 

 

Business Name

 

Number Street

  

 

: From To

 

 

 

State ZF Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
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Debtor 4 Elizabeth B Jennings Case number titknow)

First Nama Middle Nama Last Name

 

 

 

Business Name

 

 

Number Street

 

 

From To

 

City State ZIP Cade

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

M1 No

L) Yes. Fill in the details below.

 

 

Name MMOD PYYYY

 

Number Street

 

 

City State ZIP Coda

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C, §§ 152, 1341, 1519, and 3571.

x

Signature of Debtor 2

  

 

Signature of Debtor 1

Date oO Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
a No
UO Yes

Did you pay or agree to pay somecne who is not an attorney to help you fill out bankruptcy forms?

Wh No

LJ Yes. Name of person . Attach the Bankrupicy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119),

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 

 
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Elizbeth Jennings.txt
Tara Rosenfeld
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#462
Miami, FL 33175

Ghidotti/Berger LLP
Attorneys for Plaintiff
305 Biscayne Blvd

#402

Miami, FL 33475

Credit First National Assoc
Attn":BK Credit Operations
PO Box 81315

Cleveland, OH 44181-9315

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19161-7346

Merrick Bank Visa

Customer Service

PO Box 9261

Free Old Bethpage, NY 11804-9401

Seterus
PO Box 1677
Hartford, CT 86143-1877

Federal National Mortgage Association
Ghidotti/Berger LLP

c/o Tara Rosenfeld

3@5 Biscayne Blvd #402

Miami, FL 33175

United States Trustee- Ax

Office of the United States Trustee
George C Young Federal Building |
486 West Washington Street, Suite 100
Orlando, FL 32801-2216

CW Nexus Credit Card Holding
c/o Resurgent Capital Srves
PO Box 16368

Greenville, $C 29603-6368

Citimortgage, Inc

C T Corporation System

120@ South Pine Island Road
Fort Lauderdale, FL 33324-4413

Fed Loan Servicing
PO Box 69184
Harrisburg, PA 17106-9184

LVNV Funding, LLC its successors and assigns
assignee of FNBM, LLC

Page 1

 

 
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Elizbeth Jennings.txt
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PO Box 16587
Greenville, SC 29603-0587

Florida Dept of Revenue
Bankruptcy Unit

PO Box 6668

Tallahassee, FL 32314-6668

BSI Financial Services
PO Box 679002
Dallas, TX 75267-9662

city of Jacksonville
117 West Duval Street Ste 48¢@
Facksonville, FL 32262-5721

Duval County Tax Collector
231 Forsyth St. #138
Jacksonville, FL 32262

Portfolio Recovery Associates LLC
PO Box 8699
Norfolk, VA 23541-1867

US Department of Education
c/o FedLoan Servicing

PO Box 69184

Harrisburg, PA 17186-9184

Credit One Bank Na
PO Box 98873
Las Vegas, NV 89193-8873

Dept of Education

Attn: Bankruptcy

PO Box 16448

Saint Paul, MN 55116-64438

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30 North Hogan St Ste 7ee8
Jacksonville, FL 32202-4204

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